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                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

In re:                                                           Case No. 17-37207
         LINDA FAYE SLEDGE

                      Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        M.O. Marshall, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 12/15/2017.

         2) The plan was confirmed on 03/05/2018.

        3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
04/24/2018.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 11/30/2020.

         6) Number of months from filing to last payment: 36.

         7) Number of months case was pending: 43.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $21,450.00.

         10) Amount of unsecured claims discharged without payment: $3,842.49.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:

           Total paid by or on behalf of the debtor                     $22,415.17
           Less amount refunded to debtor                                    $5.62

NET RECEIPTS:                                                                                                  $22,409.55



Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                         $3,000.00
     Court Costs                                                                       $0.00
     Trustee Expenses & Compensation                                               $1,081.04
     Other                                                                             $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                               $4,081.04

Attorney fees paid and disclosed by debtor:                          $1,000.00



Scheduled Creditors:
Creditor                                                Claim         Claim           Claim        Principal         Int.
Name                                    Class         Scheduled      Asserted        Allowed         Paid            Paid
ACCOUNT RESOLUTION SVC              Unsecured               353.00           NA              NA            0.00             0.00
ACCOUNT RESOLUTION SVC              Unsecured                36.00           NA              NA            0.00             0.00
AT&T BANKRUPTCY                     Unsecured                  NA         982.74          982.74         982.74             0.00
Bank Financial                      Unsecured                50.00           NA              NA            0.00             0.00
FIFTH THIRD BANK                    Secured              14,043.00     13,683.79       13,683.79           0.00             0.00
INGALLS MEMORIAL HOSPITAL           Unsecured             1,322.00        617.64          617.64         617.64             0.00
INTERNAL REVENUE SERVICE            Unsecured                  NA          51.25           51.25          51.25             0.00
INTERNAL REVENUE SERVICE            Priority              2,254.50      4,201.91        4,201.91       4,201.91             0.00
NATIONSTAR MORTGAGE LLC             Secured              20,900.00     24,491.74        9,989.36       9,989.36             0.00
NATIONSTAR MORTGAGE LLC             Secured             156,912.00    137,084.53            0.00           0.00             0.00
NAVIENT                             Unsecured                 0.00           NA              NA            0.00             0.00
RMP LLC                             Unsecured               462.00           NA              NA            0.00             0.00
RMP LLC                             Unsecured               154.00           NA              NA            0.00             0.00
TRUST REC SV                        Unsecured               104.00           NA              NA            0.00             0.00
UNIVERSITY EYE SPECIALISTS          Unsecured               239.49           NA              NA            0.00             0.00
WELLS FARGO BANK NA                 Unsecured             2,444.00           NA              NA            0.00             0.00
WELLS FARGO BANK NA                 Secured                    NA       2,485.61        2,485.61       2,485.61             0.00




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 Summary of Disbursements to Creditors:
                                                                      Claim             Principal             Interest
                                                                    Allowed                 Paid                 Paid
 Secured Payments:
        Mortgage Ongoing                                              $0.00               $0.00                $0.00
        Mortgage Arrearage                                        $9,989.36           $9,989.36                $0.00
        Debt Secured by Vehicle                                  $13,683.79               $0.00                $0.00
        All Other Secured                                         $2,485.61           $2,485.61                $0.00
 TOTAL SECURED:                                                  $26,158.76          $12,474.97                $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                                   $0.00                $0.00               $0.00
         Domestic Support Ongoing                                     $0.00                $0.00               $0.00
         All Other Priority                                       $4,201.91            $4,201.91               $0.00
 TOTAL PRIORITY:                                                  $4,201.91            $4,201.91               $0.00

 GENERAL UNSECURED PAYMENTS:                                      $1,651.63            $1,651.63               $0.00



 Disbursements:

          Expenses of Administration                                    $4,081.04
          Disbursements to Creditors                                   $18,328.51

 TOTAL DISBURSEMENTS :                                                                                 $22,409.55



         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 07/15/2021                                  By: /s/ M.O. Marshall
                                                                                  Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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